JS44 (Rev. 08/16)

CASE 0:17-0v-001 23.4 Bae tt Fed 01/10/17 Phgey of I? MIO] B R 7

The J§ 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by Jaw, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. AEE? INSTR ONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
JOHN WESTLEY

DEFENDANTS

HENNEPIN COUNTY-~4th DISTRICT COURT, et al GEORGE F. BORER, et al
JUSTIN H. JENKINS, et al WINTHROP & WEINSTINE, et

E. BURKE HIND, et al INRELEX LAW GROUP, et al FINANCE &
COMMERCE TNC. et al

(b) County of Residence of First Listed Plaintiff BAY County of Residence of First Listed Defendant Hennepin
i (EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Aaomeny (Firm Name, Adares, coud Telephone Number Attomeys (if Known) R E C E { V E D
0. Box
Panama City FL 32402

JAN 10 207

I. BASIS OF JURISDICTION (Place an "X" in One Box Onty) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Bax for Plaintiff
O 3 (For Diversity Cases Onty) CLERK, U.SodtbeelRler tcQusaT
1 U.S. Government 3 Federal Question PIF DEF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State OO: &1 Incorporated oy PAUL. MINNESESTA Bla
, of Business In This Stats
2 US. Government El4 Diversity Citizen of Another State {2 7 2 Incorporated and Principal Place Os Os
Defendant (indicate Citizenship of Parties in Item IE} of Business In Another State
Citizen or Subject of a (13 £1 3 Foreign Nation Oe 6
Foreign Country
IV. NATURE OF SUIT lace an “X” in One Bax Only} Click here for: Nature of Suit Code Descriptions.
| CONTRACT . TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
(7110 Insurance PERSONAL INJURY PERSONAL INJURY  [(21625 Dmg Related Seizure (1422 Appeal 28 USC 158 (CO 375 Fatse Claims Act
00 120 Marine (CF 310 Airplane (J 365 Personal Injury - of Property 21 USC 881 [423 Withdrawal (J) 376 Qui Tam (31 USC
(130 Miller Act i] 315 Airplane Product Product Liabitity (21690 Other 28 USC 157 372%a))
C140 Negotiable Instrument Liabifity (0 367 Health Care! C1 406 State Reapportionment
(1150 Recovery of Overpayment [1] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS (J 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (1) 820 Copyrights 1 430 Banks and Banking
EJ 151 Medicare Act _] 330 Federal Employers’ Product Liability (4830 Patent EI} 450 Commerce
(3152 Recovery of Defaulted Liability (F368 Asbestos Personal (3840 Trademark [1 460 Deportation
Student Loans LJ 340 Marine Injury Product (7 470 Racketeer Influenced and
{Excludes Veterans) [C) 345 Marine Product Liability LABOR SOCIALSECURITY Corrupt Organizations
(11153 Recovery of Overpayment Liability PERSONAL PROPERTY |{]710 Fair Labor Standards 11861 HIA (1395i) (2) 480 Consumer Credit
of Veteron’s Benefits (350 Motor Vehicle £2 370 Other Fraud Act (11862 Black Lung (923) LJ 490 Cable/Sat TV
C1I60 Stockholders’ Suits (C) 355 Motor Vehicle (371 Truth in Lending 11720 Labor/Management (1863 DIVC/DIWW (405(e))  |[) 850 Securities‘ Commodities!
BI 190 Other Contract Product Liability (1380 Other Personal Relations (1864 SSID Title XVI Exchange
[1195 Contract Product Liability |] 360 Other Personal Property Damage (740 Railway Labor Act (1) 865 RST (405(g)) E4890 Other Statutory Actions
11196 Franchise Injury (1385 Property Damage [1751 Famity and Medical (1 891 Agricultural Acts
(C 362 Personal Injury - Product Liability Leave Act C1 893 Environmental Matters
_ Medica! Malpractice {11790 Other Labor Litigation __ DD 894 Freedom of Information
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |(791 Employee Retirement FEDERAL TAX SUITS Act
L.J210 Land Condemnation 440 Other Civil Rights Habeas Corpus: Income Security Act 7870 Taxes (US. Plainuir (0) 896 Arbitration
(1220 Foreclosure (J 441 Voting (] 463 Alien Detainee or Defendant) ( 899 Administrative Procedure
(1230 Rent Lease & Ejectment |] 442 Employment (510 Motions to Vacate (371 IRS—Third Party AcUReview or Appeal of
£1240 Torts to Land _] 443 Housings Sentence 26 USC 7609 Agency Decision
[}245 Tort Product Liability Accommodations (530 General . O 950 Constitutionality of
(9290 All Other Real Property [1 445 Amer. w/Disabilities -] [7] 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 462 Naturalization Application
(C1) 446 Amer. w/Disabilities -][7] 540 Mandamus & Other 465 Other Immigration
Other (1) 550 Civil Rights Actions
448 Education (0 555 Prison Condition
11 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (sce an “X” in One Box Only) -
fq! Origimal bq2 Removed from 3 Remanded from (4 Reinstated or (] 5 Transferred ftom 6 Multidistrict pa8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VL CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
US Conslitution Civil Rights, Federal Securities Exchange Act, Investment Advisors Act, Consumer Protection Act, RESPA, STARK law,
Medicare Act, Anti-Kickback Act and the Whistleblowers Protection Act-28 U.S.C. §§ 1331, 1367, 1441, 1446

Brief description of cause:
Civil Rights and Federal laws violations as retribution for public corruption whistleblowing & fraud exposure

VIL. REQUESTED IN — [|_| CHECK IF THISIS A CLASS ACTION

DEMAND $1,700,000

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, FRCyvP, JURY DEMAND; _ El Yes [No
VII RELATED CASE(S) VVANNE UD
IF ANY Gee structions): DOCKET NUMBER USI} #fl45 46:04-206

DATE if
1/10/2017 U.S. DISTRICT Couat st pay

FOR OFFICE USE ONLY

